          Case 3:02-cv-00339-AN           Document 614-2         Filed 06/20/25      Page 1 of 4




 1                                                                       Honorable Marsha J. Pechman

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 CONRAD REYNOLDSON, STUART                         No. 2:15-cv-01608-BJR
   PIXLEY, and DAVID WHEDBEE, on
 9 behalf of themselves and all others similarly     ORDER GRANTING PLAINTIFFS’ MOTION
   situated,                                         FOR AN AWARD OF REASONABLE
10                                                   ATTORNEYS’ FEES, COSTS, AND EXPENSES
                         Plaintiffs,
11                                                   CLASS ACTION
    v.
12

13   CITY OF SEATTLE, a public entity,

14                         Defendant.

15          Plaintiffs Conrad Reynoldson, Stuart Pixley, and David Whedbee (“Plaintiffs”), and

16   Defendant City of Seattle (“the City”) have entered into a Consent Decree to settle this matter,

17   after three years of arm’s length settlement negotiations, both face-to-face between the parties

18   and with assistance of a mediator. The parties submitted the Consent Decree to this Court on

19   July 17, 2017, and the Court preliminarily approved the Consent Decree on July 19, 2017. The

20   Consent Decree provided that Plaintiffs would move the Court for an award of reasonable

21   attorneys’ fees, costs, and expenses not to exceed $1.4 million for the time period from the

22

23
     Case No. 2:15-cv-01608-BJR
     ORDER GRANTING MOTION FOR AN AWARD OF REASONABLE
     ATTORNEYS’ FEES, COSTS, AND EXPENSES
     Page 1
                                                                                                Exhibit B
                                                                                      Emily Cooper Decl.
                                                                                             Page 1 of 4
          Case
           Case3:02-cv-00339-AN
             Case6:19-cv-00556-AA  Document
                   2:15-cv-01608-BJRDocument 614-2
                                             519-2
                                      Document     Filed
                                                    Filed
                                               62 Filed  07/03/24
                                                          06/20/25Page
                                                        11/01/17   Page
                                                                     Page2 of
                                                                       2 of 24 of
                                                                               44




 1   inception of the matter through the Effective Date of the Consent Decree. The City agreed to not

 2   contest this motion.

 3          In the preliminary approval order, the Court directed Plaintiffs to provide notice to the

 4   putative class of the terms of the proposed settlement, including the amount of attorneys’ fees,

 5   costs, and expenses that Plaintiffs would be seeking for work performed up to the Effective Date

 6   of the Consent Decree. Plaintiffs provided notice to the Settlement Class as directed, and filed

 7   their motion for an award of reasonable attorneys’ fees, costs, and expenses on September 6,

 8   2017, pursuant to the deadline set by the Court in its Order (1) Granting Preliminary Approval of

 9   Settlement; (2) Granting Certification of Settlement Class; (3) Directing Notice to the Class; and

10   (4) Setting Date for Fairness Hearing, ECF No. 42, ¶ 10.e. No member of the Settlement Class

11   has objected to Plaintiffs’ requested award of attorneys’ fees, costs, and expenses.

12          Based on the Court’s consideration of Plaintiffs’ Motion for an Award of Reasonable

13   Attorneys’ Fees, Costs, and Expenses, and the documents provided to the Court in support, the

14   Court finds as follows:

15          1.      Plaintiffs are prevailing parties under the Americans with Disabilities Act, Section

16   504 of the Rehabilitation Act of 1973, and the Washington Law Against Discrimination. See 42

17   U.S.C. § 12205; 29 U.S.C. § 794a(b); Rev. Code Wash. § 49.60.030(2); Jankey v. Poop Deck,

18   537 F.3d 1122, 1130 (9th Cir. 2008).

19          2.      Plaintiffs sought an award of $1.4 million in fees and costs to compensate Class

20   Counsel for their time, expenses, and costs on this matter since its inception through the

21   Effective Date of the Consent Decree. To date, Class Counsel has accrued a total of

22   approximately $2 million in their lodestar attorneys’ fee, expenses, and out-of-pocket costs on

23   this case. The Court finds that $1,388,729 of the attorneys’ fees, expenses and costs sought by
     Case No. 2:15-cv-01608-BJR
     ORDER GRANTING MOTION FOR AN AWARD OF REASONABLE
     ATTORNEYS’ FEES, COSTS, AND EXPENSES
     Page 2
                                                                                               Exhibit B
                                                                                      Emily Cooper Decl.
                                                                                             Page 2 of 4
          Case
           Case3:02-cv-00339-AN
             Case6:19-cv-00556-AA  Document
                   2:15-cv-01608-BJRDocument 614-2
                                             519-2
                                      Document     Filed
                                                    Filed
                                               62 Filed  07/03/24
                                                          06/20/25Page
                                                        11/01/17   Page
                                                                     Page3 of
                                                                       3 of 34 of
                                                                               44




 1   Plaintiffs is reasonable in light of the types of work and number of hours Class Counsel

 2   expended to obtain the Consent Decree on behalf of the Settlement Class, Class Counsel’s

 3   experience in litigating and negotiating settlement of disability rights class actions, particularly

 4   those involving similar claims for accessibility of the pedestrian right of way for individuals with

 5   mobility disabilities, and the result obtained in this case on behalf of the Settlement Class.

 6   Moreover, $1,388,729 is significantly less than Class Counsel’s actual lodestar fee. In addition,

 7   $1,388,729 includes compensation for Class Counsel’s reasonable litigation expenses and out-of-

 8   pocket costs, which total approximately $50,000. Accordingly, the Court finds that an award of

 9   $1,388,729 in attorneys’ fees, costs, and expenses through the Effective Date is reasonable.

10          Based on the Court’s findings, the Court ORDERS:

11          1.      Plaintiffs’ Motion for an Award of Reasonable Attorneys’ Fees, Costs, and

12   Expenses is GRANTED IN PART and DENIED IN PART.

13          2.      Defendant shall pay $1,388,729 to Plaintiffs in attorneys’ fees , costs, and

14   expenses, within the time period set forth in the Consent Decree.

15          IT IS SO ORDERED.

16          Dated this 1st day of November, 2017.

17

18

19
                                                            A
                                                            Marsha J. Pechman
                                                            United States District Judge
20

21   //
22   //
23   //
     Case No. 2:15-cv-01608-BJR
     ORDER GRANTING MOTION FOR AN AWARD OF REASONABLE
     ATTORNEYS’ FEES, COSTS, AND EXPENSES
     Page 3
                                                                                                 Exhibit B
                                                                                        Emily Cooper Decl.
                                                                                               Page 3 of 4
           Case
            Case3:02-cv-00339-AN
              Case6:19-cv-00556-AA  Document
                    2:15-cv-01608-BJRDocument 614-2
                                              519-2
                                       Document     Filed
                                                     Filed
                                                62 Filed  07/03/24
                                                           06/20/25Page
                                                         11/01/17   Page
                                                                      Page4 of
                                                                        4 of 44 of
                                                                                44




 1   Presented by

 2   GOLDSTEIN, BORGEN, DARDARIAN & HO

 3
      s/ Linda M. Dardarian
 4   Linda M. Dardarian (CA SBN 131001)
     ldardarian@gbdhlegal.com
 5   Andrew P. Lee (CA SBN 245903)
     alee@gbdhlegal.com
 6   Raymond A. Wendell (CA SBN 298333)
     rwendell@gbdhlegal.com
 7   300 Lakeside Drive, Suite 1000
     Oakland, CA 94612
 8   (510) 763-9800; (510) 835-1417 (Fax)

 9   Attorneys for Plaintiff and the Putative Class

10

11

12

13

14

15

16

17

18

19

20

21

22

23
     Case No. 2:15-cv-01608-BJR
     ORDER GRANTING MOTION FOR AN AWARD OF REASONABLE
     ATTORNEYS’ FEES, COSTS, AND EXPENSES
     Page 4
                                                                                Exhibit B
                                                                       Emily Cooper Decl.
                                                                              Page 4 of 4
